         Case 1:20-cv-01227-ELH Document 12 Filed 08/31/20 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 JANE DOE                                             *

        Plaintiff,                                    *

 v.                                                   *    Case No.: 1-20-CV-01227-ELH

 LOYOLA UNIVERSITY MARYLAND,                          *

        Defendant.                                    *

******************************************************************************

                                    MOTION TO DISMISS

       Defendant Loyola University Maryland, by its undersigned attorneys and pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure, submits this Motion to Dismiss Plaintiff Jane

Doe’s Complaint for failure to state a claim upon which relief can be granted. Plaintiff’s claims

fail as a matter of law. The statements and arguments in the accompanying Memorandum are

incorporated herein by reference.

       WHEREFORE, Defendant respectfully requests that this Court grant this Motion, dismiss

Plaintiff’s Complaint with prejudice, grant Defendant its attorneys’ fees and costs, and enter such

other relief in favor of Defendant as the Court deems appropriate.
        Case 1:20-cv-01227-ELH Document 12 Filed 08/31/20 Page 2 of 2




                                Respectfully submitted,


                                        /s/ Collin J. Wojciechowski
                                Brian T. Tucker (Bar # 27485)
                                Collin J. Wojciechowski (Bar # 21112)
                                218 North Charles Street, Suite 400
                                Baltimore, MD 21201
                                t: (410) 727-7702
                                f: (410) 468-2786
                                btucker@gejlaw.com
                                cwojciechowski@gejlaw.com
                                Attorneys for Defendant




Dated: August 31, 2020
